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  May 26, 2023


  Mark Langer, Clerk
  U.S. Court of Appeals for the
  District of Columbia Circuit
  E. Barrett Prettyman U.S. Courthouse and
  William B. Bryant Annex
  333 Constitution Ave., NW
  Washington, D.C. 20001


  Re:      American Society for Testing and Materials, et al., v. Public.Resource.Org, Inc.,
           No. 22-7063 (Argued on March 20, 2023)
           Notice of Supplemental Authority Pursuant to Federal Rule of Appellate
           Procedure 28(j)

  Dear Mr. Langer,

     Defendant-Appellee Public.Resource.Org writes in response to Plaintiff-Appellants’
  Notice of Supplemental Authority.

      The Supreme Court’s ruling in Andy Warhol Foundation v. Goldsmith, No. 21-869 (May
  18, 2023) addressed the proper interpretation of Factor One of the fair use analysis: the
  “purpose and character of the use.” The ruling supports a finding of fair use in this case.

      The Court stressed that its ruling was limited to the “specific use alleged to be infringing”
  – Petitioner’s commercial licensing of an artistic print to illustrate a magazine cover. Id., slip
  op. 37.

      The central relevance of Goldsmith is that the Court explicitly affirmed Campbell v. Acuff-
  Rose Music, Inc., 510 U.S. 569, 590 (1994), which held that the purpose analysis “is a matter
  of degree, and the degree of difference must be balanced against the commercial nature of the
  use.” Goldsmith at 19-20. The Court also affirmed its holding in Google LLC v. Oracle
  America, 141 S. Ct. 1183 (2021), that making verbatim copies of software was transformative
  because the copies were put to use in a “distinct and different computing environment,” and
  copying was “necessary if programmers are to be able to use their acquired skills.” Goldsmith
  at 2 n.8.

      Here, the use at issue is both noncommercial and highly transformative: it occurs in the
  distinct and different environment of a free repository of the law, and it is necessary to enable
  the public to engage with the law in new ways.




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      Accordingly, Public Resource’s purpose is very different from Plaintiffs’. Contrary to
  Plaintiffs’ suggestion, that difference is not a matter of subjective intent, but is defined by the
  objective context in which the uses are made. Plaintiffs provide current best practices for the
  design and operation of buildings and products, while Public Resource provides a
  compendium of the law. This change in context—not present in Goldsmith—evidences a
  distinct purpose. Even if this Court determined that some uses are less transformative, its
  analysis should balance the degree of difference against Public Resource’s entirely
  noncommercial use.

     Additionally, again contrary to Plaintiffs’ suggestion, the Goldsmith opinion did not
  change the fourth factor analysis.


                                                 Respectfully submitted,


                                                 /s/ Mitchell L. Stoltz
                                                 Mitchell L. Stoltz
                                                 ELECTRONIC FRONTIER FOUNDATION
                                                 Counsel for Defendant-Appellee
                                                 Public.Resource.Org


  Cc: All Parties




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